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                      UNITED STATES COURT OF APPEALS                            FILED
                             FOR THE NINTH CIRCUIT                              JUN 27 2019
                                                                            MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS
 DONNA MAE AMINA, as Personal                       No.    18-17196
 Presentative of the Estate of Mary Ann
 Neula Lim, Estate of Mary Ann Neula Lim,           D.C.No.
                                                    1: 18-cv-00247-HG-RLP
                 Plaintiff-Appellant,               District of Hawaii,
                                                    Honolulu
   v.
                                                    ORDER
 U.S . BANK TRUST, N.A., as Trustee for
 Mortgage Equity Conversion Asset Trust
 2011-1; et al.,

                 Defendants-Appellees.

 Before: CLIFTON, N.R. SMITH, and FRIEDLAND, Circuit Judges.

        Donna Mae Amina' s motion to substitute herself individually as the

 appellant for this appeal and to remand this appeal to the district court for further

 proceedings is denied (Docket Entry No. 10).

        The court's November 19, 2018 and January 14, 2019 orders required

 appellant the Estate of Mary Ann Neula Lim to retain counsel. See CE. Pope

 Equity Trust v. United States, 818 F.2d 696, 697-98 (9th Cir. 1987) (non-attorney

 litigants may not represent trusts for which they serve as trustees); see also In re

 Highley, 459 F.2d 554, 555 (9th Cir. 1972); McShane v. United States, 366 F.2d

 286, 288 (9th Cir. 1966). The orders warned appellant that failure to obtain

 counsel would result in dismissal of the appeal for failure to prosecute. To date, no


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 counsel has entered a notice of appearance on behalf of the Estate of Mary Ann

 Neula Lim. Consequently, the appeal is dismissed for failure to prosecute. See 9th

 Cir. R. 42-1.

        All other pending motions are denied as moot.

        DISMISSED.




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